                                                                            . FILED
                                                                       U S DISTRICT COUR'"
                  IN THE UNITED STATES DISTRICT COURT" "aUGR'T'^V; Gi'T '
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION                      2QI9SEP23 PM2:55

UNITED STATES OF AMERICA                   *
                                            ★                      CLERK-'I
                                                                            SO.D
      V.                                   *            CR 117-066


JACOB LEE CALDWELL




                                    ORDER




      On May 31, 2018, Defendant Jacob Lee Caldwell pled guilty to

one count of possession of a firearm in furtherance of a drug

trafficking crime, a         violation     of 18       U.S.C. § 924(c).               He    was

sentenced to 60 months imprisonment.                  Defendant did not appeal his

conviction or sentence.


      On September 20, 2019, Defendant filed a motion to appoint

counsel    to   help   him   seek       relief   pursuant         to    a    new     rule    of

constitutional law announced in United States v. Davis,                                    U.S.

   , 139 S. Ct. 2319 (Jun. 24, 2019).                 Specifically, in Davis, the

United States Supreme Court found that the "residual clause" of 18

U.S.C. § 924(c) is unconstitutionally vague.^


^ Section 924(c) imposes a mandatory sentence for a defendant who uses or carries
a firearm "during and in relation to any crime of violence."                       A "crime of
violence" under that section is defined as follows:


      For purposes of this subsection the term "crime of violence" means
      an offense that is a felony and

      (A) has as an element the use, attempted use, or threatened use of
      physical force   against    the   person   or    property   of    another [the
      "force" clause], or

      (B) that by its nature, involves a substantial risk that physical
      force against the person or property of another may be used in the
      course of committing the offense [the "residual" clause].
     In order to attack the legality of his sentence, which is

what Defendant is trying to do. Defendant must petition for habeas

corpus relief under 28 U.S.C. § 2255 by filing a motion to vacate,

set aside or correct his sentence.                Here, Defendant's motion to

appoint    counsel       does   not    reference      §    2255   in   any     way.

Nevertheless, this Court intends to recharacterize his motion as

a § 2255 motion.     See Castro v. United States, 540 U.S. 375 (2003)

(explaining that a district court must notify a litigant of its

intent    to   recharacterize    a    pro    se   motion   as   a § 2255     habeas

petition).      This recharacterization means that any subsequent §

2255 motion will be subject to the statutory restriction on ""second

and successive" § 2255 motions.             See 28 U.S.C. § 2255(b) & 2255(h)

(prohibiting claims in second or successive § 2255 motions except

under certain specified circumstances).                Accordingly, Defendant

must notify this Court in writing within thirty (30) days hereof

if he contests the recharacterization of his motion, whether he

wishes to withdraw the motion, or whether he wishes to amend the

motion to assert any other § 2255 claims aside from his Davis

claim.2    If Defendant fails to respond to this Order within 30



18 U.S.C. § 924(c)(3).    The Davis Court invalidated only the residual clause.

2   The CLERK is DIRECTED to attach a copy of the standard form for § 2255
motions to Defendant's service copy of this Order in case he decides to amend
his filing to include additional § 2255 claims. If Defendant chooses to amend
his motion, he must set forth all his § 2255 claims on the attached form,
including his Davis claim. In other words, if Defendant files an amended motion
on the form provided, the Court will not consider the original motion; rather,
the amended motion will supersede the original motion in its entirety. See
Pintando v. Miami-Dade Hous. Agency, 501 F.3d 1241, 1243 (11th Cir. 2007);
Lowery v. Ala. Power Co., 483 F.3d 1184, 1219 (11th Cir. 2007). Any new claims
filed by Defendant are subject to the one-year statute of limitations of the
                                        2
days, his motion for relief will be recharacterized as a § 2255

motion, the Clerk will docket it as a new civil action,^ and his

claim will be addressed under the standards applicable to § 2255

motions.


      Further, a habeas petitioner has no absolute constitutional

right to the appointment of counsel.            Henderson v. Campbell, 353

F.3d 880, 892 {11th Cir. 2003) (held in the context of a habeas

proceeding under 28 U.S.C. § 2254).            Rather, a court may appoint

counsel only if the interests of justice so require.              28 U.S.C. §

2255(g) (incorporating by reference the standards of 18 U.S.C. §

3006A(a)(2)(B) for the appointment of counsel); see McCall v. Cook,

495 F. App'x 29, 31 (11th Cir. 2012) (stating that civil litigants,

even prisoners, have no constitutional right to counsel; rather,

appointment of counsel in civil cases is "a               privilege that is

justified     only   by   exceptional       circumstances"     (quoted    source

omitted)).     Here, Defendant has not shown that the interests of

justice demand the appointment of an attorney.            Accordingly, he is

not entitled to the appointment of counsel.

      ORDER   ENTERED     at   Augusta,      Georgia,   this             clay   of

September, 2019.




                                             UNITED STATESZDISTRICT      JUDGE


Antiterrorism and Effective Death Penalty Act ("AEDPA"), see 28 U.S.C. §
2255(f), and all other applicable standards governing § 2255 actions.

^   The Clerk shall docket the new civil action as a motion under 28 U.S.C. §
2255 with a nunc pro tune filing date of September 20, 2019.
                                        3
